               Case 16-01854-JJG-11                     Doc 1     Filed 03/17/16           EOD 03/17/16 09:45:06                   Pg 1 of 52


Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF INDIANA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           12/15
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Fine Light, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Finelight
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1801 S. Liberty Drive
                                  Bloomington, IN 47403
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Monroe                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                 Case 16-01854-JJG-11                        Doc 1     Filed 03/17/16              EOD 03/17/16 09:45:06                        Pg 2 of 52
Debtor    Fine Light, Inc.                                                                               Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53AB))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80a-3)

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.naics.com/search/.
                                                 5418

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     Debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                   Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                   are less than $2,490,925 (amount subject to adjustment on 4/01/16 and every three years after
                                                                   that).
                                                                   The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                   business debtor, attach the most recent balance sheet, statement of operation, cash-flow
                                                                   statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                   procedure in 11 U.S.C. § 1116(1)(B).
                                                                   A plan is being filed with this petition.
                                                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                   accordance with 11 U.S.C. § 1126(b).
                                                                   The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                   Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                   attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                   (Official Form 201A) with this form.
                                                                   The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                  When                                  Case number
                                                  District                                  When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor      RMG Communications, LLC                                         Relationship to you      Subsidiary
                                                              Southern District of
                                                  District    Indiana                       When       3/16/16                Case number, if known    15-?????



Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                Case 16-01854-JJG-11                    Doc 1      Filed 03/17/16             EOD 03/17/16 09:45:06                    Pg 3 of 52
Debtor   Fine Light, Inc.                                                                          Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                 Case 16-01854-JJG-11                Doc 1          Filed 03/17/16           EOD 03/17/16 09:45:06                    Pg 4 of 52
Debtor    Fine Light, Inc.                                                                         Case number (if known)
          Name



          Request for Relief, Declaration, and Signature

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      March 16, 2016
                                                  MM / DD / YYYY


                             X   /s/ Kevin Todd                                                           Kevin Todd
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Financial Officer




18. Signature of attorney    X   /s/ Wendy D. Brewer                                                       Date March 16, 2016
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Wendy D. Brewer
                                 Printed name

                                 Jefferson & Brewer, LLC
                                 Firm name

                                 300 N. Meridian St., Ste. 220
                                 Indianapolis, IN 46204
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     317-215-6220                  Email address      wbrewer@jeffersonbrewer.com

                                 22669-49
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
            Case 16-01854-JJG-11                            Doc 1          Filed 03/17/16            EOD 03/17/16 09:45:06      Pg 5 of 52




 Fill in this information to identify the case:

 Debtor name         Fine Light, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF INDIANA

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          March 16, 2016                          X /s/ Kevin Todd
                                                                       Signature of individual signing on behalf of debtor

                                                                       Kevin Todd
                                                                       Printed name

                                                                       Chief Financial Officer
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                    Case 16-01854-JJG-11                         Doc 1      Filed 03/17/16              EOD 03/17/16 09:45:06                           Pg 6 of 52


 Fill in this information to identify the case:
 Debtor name Fine Light, Inc.
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF INDIANA                                                                                 Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Active Health                                                   Unused Credit                                                                                            $50,838.58
 Management                                                      Memo(s) issued to
 1333 Broadway                                                   Trade Creditor
 NY 10180
 Arcadian                                                        Unused Credit                                                                                            $15,190.70
 Management                                                      Memo(s) issued to
 Services                                                        Trade Creditor
 500 12th Street,
 Suite 350
 Oakland, CA 94607
 Bob Egle, LLC                                                   Judgment dated                                                                                           $27,311.26
 4103 Fairfax Drive                                              3/24/14 - Case No.
 Columbus, OH                                                    13-CV-003302 in
 43220                                                           Franklin County
                                                                 Court, Ohio
                                                                 (amount is face
                                                                 amount of
                                                                 Judgment)
 Circa Music                                                     Trade Debt                                                                                               $78,456.25
 5030 Bradenton
 Avenue
 Dublin, OH 43017
 Clearspring                                                     Trade Debt                                                                                               $83,635.05
 Technologies
 800 Westpark Drive
 Suite 625
 McLean, VA 22102
 Clendening                                                      Goods or services                                                                                        $23,797.17
 Johnson and
 Bohrer, P.C.
 400 W. Patterson
 Drive
 Suite 205
 Bloomington, IN
 47403
 Clifford Chance LLP                                             Goods or services                                                                                        $36,203.39
 31 W. 52nd Street
 New York, NY 10019

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                    Case 16-01854-JJG-11                         Doc 1      Filed 03/17/16              EOD 03/17/16 09:45:06                           Pg 7 of 52



 Debtor    Fine Light, Inc.                                                                                   Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Cmedia Services,                                                Judgment                                                                                             $9,351,853.19
 LLC
 207 NW Park
 Avenue
 Portland, OR 97209
 Humana, Inc.                                                    Rent                                                                                                     $26,273.40
 3594 Reliable
 Parkway
 Chicago, IL
 60686-0035
 Japs-Olson                                                      Judgment                                                                                               $618,931.23
 Company
 7500 Excelsior
 Boulevard
 Minneapolis, MN
 55426
 John Hancock Life                                               Rent                                                                                                     $19,332.70
 Insurance
 1475 E. Woodfield
 Road
 Suite 100
 Schaumburg, IL
 60173
 JP Ownership                                                    Agreed Judgment                                                                                          $37,500.00
 Group, Inc.                                                     entered on 1/9/14
 10765 Lantern Road                                              in Case No.
 Suite 201                                                       53C01-1304-CC-00
 Fishers, IN 46038                                               0687. Amount
                                                                 identified is the
                                                                 face amount of
                                                                 the Judgment.
 Knowledge Base                                                  Trade Debt                                                                                               $95,062.50
 Marketing
 2050 N. Greenville
 Avenue
 Richardson, TX
 75082-4322
 Mallor Grodner LLP                                              Goods or services                                                                                        $40,108.07
 511 Woodcrest
 Drive
 Bloomington, IN
 47401
 Metropolitan Jewish                                             Litigation                                                                                             $706,666.74
 Health System, Inc.                                             settlement of
 6323 7th Avenue                                                 trade debt claim.
 Brooklyn, NY 11220                                              Case No.
                                                                 1:09-cv-02677-RE
                                                                 R, E.D. of NY.




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    Fine Light, Inc.                                                                                   Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Rainer U. Ziehm                                                 Consent                                                                                                $229,000.00
 1239 N. High Street                                             Judgment dated
 Columbus, OH                                                    6/10/14 in Case
 43201                                                           No.
                                                                 2:13-cv-01134-GC
                                                                 S-NMK in the S.D.
                                                                 of Ohio. Ziehm as
                                                                 assignee of
                                                                 Leftchannel, Inc.
                                                                 Trade Debt.
                                                                 Amount lis
 Regions Bank                                                    Credit card                                                                                            $147,809.02
 P.O. Box 2224                                                   purchases
 Birmingham, AL
 35246
 Software House                                                  Goods or                                                                                                 $26,038.72
 International Inc.                                              services.
 33 Knightsbridge
 Road
 Piscataway, NJ
 08854
 Studio Center                                                   Trade Debt                                                                                               $16,436.00
 161 Business Park
 Drive
 Virginia Beach, VA
 23462
 Victoria James                                                  Goods or services                                                                                        $16,000.00
 11 Stonefence Lane
 South Kent, CT
 06785




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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 Fill in this information to identify the case:

 Debtor name            Fine Light, Inc.

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF INDIANA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           254,537.26

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           254,537.26


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$       15,769,478.25


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         15,769,478.25




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         Fine Light, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF INDIANA

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Regions Bank                                            Checking                        6562                                     $1,998.68



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                      $1,998.68
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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 Debtor         Fine Light, Inc.                                                             Case number (If known)
                Name



                                                                                                     Valuation method used    Current value of
                                                                                                     for current value        debtor's interest

 14.        Mutual funds or publicly traded stocks not included in Part 1
            Name of fund or stock:

 15.        Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
            partnership, or joint venture
            Name of entity:                                               % of ownership


            15.1.    RMG Communications, LLC                                        100       %      Appraisal                                  $0.00




            15.2.    Aquila, LLC                                                    8         %      Appraisal                                  $0.00



 16.        Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
            Describe:


 17.        Total of Part 4.                                                                                                               $0.00
            Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 2
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 Debtor         Fine Light, Inc.                                                              Case number (If known)
                Name



        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                                    Current value of
                                                                                                                                    debtor's interest


 71.        Notes receivable
            Description (include name of obligor)
            Heartland Realty of Bloomington,                                   3,000.00 -                                  0.00 =
            LLC                                                       Total face amount     doubtful or uncollectible amount                    $3,000.00


                                                                            249,538.58 -                                   0.00 =
            FL West, LLC                                              Total face amount     doubtful or uncollectible amount                 $249,538.58


            Aquila, LLC (entity is currently                                943,571.20 -                           943,571.20 =
            balance sheet insolvent)                                  Total face amount     doubtful or uncollectible amount                    Unknown


            Fine Light Public Relations, Inc.                               373,539.73 -                           373,539.73 =
            (entity is balance sheet insolvent)                       Total face amount     doubtful or uncollectible amount                    Unknown


            RMG Communications, LLC (entity is                            3,830,402.50 -                         3,830,402.50 =
            insolvent and filing Chapter 11)                          Total face amount     doubtful or uncollectible amount                    Unknown



 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)
            Aquila, LLC (amount based on CMedia Judgment
            obtained in Case No. 53C01-1203-CC-000486)                                                                                          Unknown
            Nature of claim        Alleged fraudulent txfr and veil
                                   piercing claims belong to estate
                                   under 544(b)
            Amount requested                    $9,351,853.19


            Fine Light Public Relations, Inc. (amount based on
            CMedia Judgment obtained in Case No.
            53C01-1203-CC-000486)                                                                                                               Unknown
            Nature of claim          Alleged fraudulent txfr and veil
                                     piercing claims belong to estate
                                     under 544(b)
            Amount requested                      $9,351,853.19




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                       page 3
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 Debtor         Fine Light, Inc.                                                             Case number (If known)
                Name

           Landco of Southern Indiana, LLC (amount based on
           CMedia Judgment obtained in Case No.
           53C01-1203-CC-000486)                                                                                                 Unknown
           Nature of claim        Alleged fraudulent txfr and veil
                                  piercing claims belong to estate
                                  under 544(b)
           Amount requested                    $9,351,853.19


           Walnut Street Development, LLC (amount based on
           CMedia Judgment obtained in Case No.
           53C01-1203-CC-000486)                                                                                                 Unknown
           Nature of claim       Alleged fraudulent txfr and veil
                                 piercing claims belong to estate
                                 under 544(b)
           Amount requested                   $9,351,853.19


           Heartland Realty of Bloomington, LLC (amount based
           on CMedia Judgment obtained in Case No.
           53C01-1203-CC-000486)                                                                                                 Unknown
           Nature of claim         Alleged fraudulent txfr and veil
                                   piercing claims belong to estate
                                   under 544(b)
           Amount requested                     $9,351,853.19


           Heartland Development Group, LLC (amount based on
           CMedia Judgment obtained in Case No.
           53C01-1203-CC-000486)                                                                                                 Unknown
           Nature of claim       Alleged fraudulent txfr and veil
                                 piercing claims belong to estate
                                 under 544(b)
           Amount requested                   $9,351,853.19


           Crossroads Development Group, Inc. (amount based on
           CMedia Judgment obtained in Case No.
           53C01-1203-CC-000486)                                                                                                 Unknown
           Nature of claim       Alleged fraudulent txfr and veil
                                 piercing claims belong to estate
                                 under 544(b)
           Amount requested                   $9,351,853.19


           YFD, LLC (amount based on CMedia Judgment
           obtained in Case No. 53C01-1203-CC-000486)                                                                            Unknown
           Nature of claim        Alleged fraudulent txfr and veil
                                  piercing claims belong to estate
                                  under 544(b)
           Amount requested                    $9,351,853.19


           FL West, LLC (amount based on CMedia Judgment
           obtained in Case No. 53C01-1203-CC-000486)                                                                            Unknown
           Nature of claim        Alleged fraudulent txfr and veil
                                  piercing claims belong to estate
                                  under 544(b)
           Amount requested                    $9,351,853.19




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                        page 4
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 Debtor         Fine Light, Inc.                                                             Case number (If known)
                Name

           Bloom Insurance Agency, LLC (amount based on
           CMedia Judgment obtained in Case No.
           53C01-1203-CC-000486)                                                                                                 Unknown
           Nature of claim       Alleged fraudulent txfr and veil
                                 piercing claims belong to estate
                                 under 544(b)
           Amount requested                   $9,351,853.19


           Finelight Agency, LLC (amount based on CMedia
           Judgment obtained in Case No. 53C01-1203-CC-000486)                                                                   Unknown
           Nature of claim        Alleged fraudulent txfr and veil
                                  piercing claims belong to estate
                                  under 544(b)
           Amount requested                    $9,351,853.19


           Bloom Media Services, LLC (amount based on CMedia
           Judgment obtained in Case No. 53C01-1203-CC-000486)                                                                   Unknown
           Nature of claim        Alleged fraudulent txfr and veil
                                  piercing claims belong to estate
                                  under 544(b)
           Amount requested                    $9,351,853.19


           Julie A. Rogers (amount based on CMedia Judgment
           obtained in Case No. 53C01-1203-CC-000486)                                                                            Unknown
           Nature of claim        Alleged fraudulent txfr claims
                                  belong to estate under 544(b)
           Amount requested                   $9,351,853.19


           Julie A. Rogers Revocable Living Trust (amount based
           on CMedia Judgment obtained in Case No.
           53C01-1203-CC-000486)                                                                                                 Unknown
           Nature of claim        Alleged fraudulent txfr claims
                                  belong to estate under 544(b)
           Amount requested                    $9,351,853.19


           Kevin Todd (amount based on CMedia Judgment
           obtained in Case No. 53C01-1203-CC-000486)                                                                            Unknown
           Nature of claim        Alleged fraudulent txfr claims
                                  belong to estate under 544(b)
           Amount requested                   $9,351,853.19


           Sherman T. Rogers (amount based on CMedia
           Judgment obtained in Case No. 53C01-1203-CC-000486)                                                                   Unknown
           Nature of claim       Alleged fraudulent txfr and veil
                                 piercing claims belong to estate
                                 under 544(b)
           Amount requested                   $9,351,853.19


           RMG Communications, LLC (amount based on CMedia
           Judgment obtained in Case No. 53C01-1203-CC-000486)                                                                   Unknown
           Nature of claim       Alleged fraudulent txfr claims
                                 belong to estate under 544(b)
           Amount requested                  $9,351,853.19



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                        page 5
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 Debtor         Fine Light, Inc.                                                             Case number (If known)
                Name



 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.                                                                                               $252,538.58
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                        page 6
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 Debtor          Fine Light, Inc.                                                                                    Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                              $1,998.68

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                $252,538.58

 91. Total. Add lines 80 through 90 for each column                                                            $254,537.26           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $254,537.26




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 7
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 Fill in this information to identify the case:

 Debtor name         Fine Light, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF INDIANA

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                         12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                       page 1 of 1
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            Case 16-01854-JJG-11                           Doc 1       Filed 03/17/16               EOD 03/17/16 09:45:06                          Pg 18 of 52

 Fill in this information to identify the case:

 Debtor name         Fine Light, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF INDIANA

 Case number (if known)
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $7,386.74
           600 Associates                                                       Contingent
           333 E. Main Street                                                   Unliquidated
           Suite 510                                                            Disputed
           Louisville, KY 40202
                                                                             Basis for the claim:    Rent
           Date(s) debt was incurred     November 2013
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $50,838.58
           Active Health Management                                             Contingent
           1333 Broadway                                                        Unliquidated
            NY 10180                                                            Disputed
           Date(s) debt was incurred Various
                                                                             Basis for the claim:    Unused Credit Memo(s) issued to Trade Creditor
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $5,440.00
           American Society of Civil Engineers                                  Contingent
           1801 Alexander Bell Drive                                            Unliquidated
           Reston, VA 20191                                                     Disputed
           Date(s) debt was incurred August 2011
                                                                             Basis for the claim:    Trade Debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $3,554.29
           Arbitron, Inc.                                                       Contingent
           9705 Patuxent Woods Drive                                            Unliquidated
           Columbia, MD 21046                                                   Disputed
           Date(s) debt was incurred December 2011
                                                                             Basis for the claim:    Goods or services
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 1 of 10
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 Debtor       Fine Light, Inc.                                                                        Case number (if known)
              Name

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,190.70
          Arcadian Management Services                                          Contingent
          500 12th Street, Suite 350                                            Unliquidated
          Oakland, CA 94607                                                     Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Unused Credit Memo(s) issued to Trade Creditor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $349,898.39
          Bloom Insurance Agency, LLC                                           Contingent
          1801 S. Liberty Drive                                                 Unliquidated
          Bloomington, IN 47403                                                 Disputed
          Date(s) debt was incurred Apr. 2011-Sep. 2013
                                                                             Basis for the claim:    Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,135.00
          Bloom Insurance Agency, LLC                                           Contingent
          1801 S. Liberty Drive                                                 Unliquidated
          Bloomington, IN 47403                                                 Disputed
          Date(s) debt was incurred September 2012
                                                                             Basis for the claim:    Goods or services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $171,772.55
          Bloom Media Services, LLC                                             Contingent
          1801 S. Liberty Drive                                                 Unliquidated
          Bloomington, IN 47403                                                 Disputed
          Date(s) debt was incurred Feb. 2013-Aug. 2013
                                                                             Basis for the claim:    Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $27,311.26
          Bob Egle, LLC                                                         Contingent
          4103 Fairfax Drive                                                    Unliquidated
          Columbus, OH 43220                                                    Disputed
          Date(s) debt was incurred      August 2008                                        Judgment dated 3/24/14 - Case No. 13-CV-003302 in
                                                                             Basis for the claim:
          Last 4 digits of account number                                    Franklin County Court, Ohio (amount is face amount of Judgment)
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,347.96
          Chicago Tribune                                                       Contingent
          14839 Collections Center Drive                                        Unliquidated
          Chicago, IL 60693-0148                                                Disputed
          Date(s) debt was incurred October 2011
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $78,456.25
          Circa Music                                                           Contingent
          5030 Bradenton Avenue                                                 Unliquidated
          Dublin, OH 43017                                                      Disputed
          Date(s) debt was incurred November 2008
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 2 of 10
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 Debtor       Fine Light, Inc.                                                                        Case number (if known)
              Name

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $83,635.05
          Clearspring Technologies                                              Contingent
          800 Westpark Drive                                                    Unliquidated
          Suite 625                                                             Disputed
          McLean, VA 22102
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred May 2011
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $23,797.17
          Clendening Johnson and Bohrer, P.C.                                   Contingent
          400 W. Patterson Drive                                                Unliquidated
          Suite 205                                                             Disputed
          Bloomington, IN 47403
                                                                             Basis for the claim:    Goods or services
          Date(s) debt was incurred April 2012
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $36,203.39
          Clifford Chance LLP                                                   Contingent
          31 W. 52nd Street                                                     Unliquidated
          New York, NY 10019                                                    Disputed
          Date(s) debt was incurred      August 2008                         Basis for the claim:    Goods or services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $9,351,853.19
          Cmedia Services, LLC                                                  Contingent
          207 NW Park Avenue                                                    Unliquidated
          Portland, OR 97209                                                    Disputed
          Date(s) debt was incurred January 2014
                                                                             Basis for the claim:    Judgment
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $917.00
          Conway Sun                                                            Contingent
          64 Seavey Street                                                      Unliquidated
          North Conway, NH 03860                                                Disputed
          Date(s) debt was incurred January 2012
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,187.12
          Core Media                                                            Contingent
          695 Route 46 West                                                     Unliquidated
          Suite 403                                                             Disputed
          Fairfield, NJ 07004
                                                                             Basis for the claim:    Goods or services
          Date(s) debt was incurred      September 2013
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $27,000.00
          Crossroads Development Group, Inc.                                    Contingent
          1801 S. Liberty Drive                                                 Unliquidated
          Bloomington, IN 47403                                                 Disputed
          Date(s) debt was incurred July 2013
                                                                             Basis for the claim:    Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 3 of 10
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 Debtor       Fine Light, Inc.                                                                        Case number (if known)
              Name

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $152.64
          Culligan Water                                                        Contingent
          490 N. Clark Boulevard                                                Unliquidated
          Clarksville, IN 47129                                                 Disputed
          Date(s) debt was incurred September 2013
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $975.00
          Debbie Burgan                                                         Contingent
          600 E. Main Street                                                    Unliquidated
          Suite 310                                                             Disputed
          Louisville, KY 40202
                                                                             Basis for the claim:    Goods or services
          Date(s) debt was incurred      October 2013
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $175.87
          EGIX                                                                  Contingent
          P.O. Box 748001                                                       Unliquidated
          Cincinnati, OH 45274                                                  Disputed
          Date(s) debt was incurred      June 2013                           Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,733.75
          Exeter News Letter                                                    Contingent
          111 New Hampshire Avenue                                              Unliquidated
          Portsmouth, NH 03801                                                  Disputed
          Date(s) debt was incurred November 2011
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,871,864.76
          Finelight Agency, LLC                                                 Contingent
          1801 S. Liberty Drive                                                 Unliquidated
          Bloomington, IN 47403                                                 Disputed
          Date(s) debt was incurred Sep. 2009-Jan. 2014
                                                                             Basis for the claim:    Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,146.08
          Goldberg Segalla LLP                                                  Contingent
          665 Main Street                                                       Unliquidated
          Suite 400                                                             Disputed
          Buffalo, NY 14203
                                                                             Basis for the claim:    Goods or services
          Date(s) debt was incurred December 2010
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $26,273.40
          Humana, Inc.                                                          Contingent
          3594 Reliable Parkway                                                 Unliquidated
          Chicago, IL 60686-0035                                                Disputed
          Date(s) debt was incurred March 2011
                                                                             Basis for the claim:    Rent
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 4 of 10
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 Debtor       Fine Light, Inc.                                                                        Case number (if known)
              Name

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $748.90
          Ingenix                                                               Contingent
          12125 Technology Drive                                                Unliquidated
          Eden Prairie, MN 55344                                                Disputed
          Date(s) debt was incurred April 2011
                                                                             Basis for the claim:    Goods or services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $618,931.23
          Japs-Olson Company                                                    Contingent
          7500 Excelsior Boulevard                                              Unliquidated
          Minneapolis, MN 55426                                                 Disputed
          Date(s) debt was incurred August 2014
                                                                             Basis for the claim:    Judgment
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $19,332.70
          John Hancock Life Insurance                                           Contingent
          1475 E. Woodfield Road                                                Unliquidated
          Suite 100                                                             Disputed
          Schaumburg, IL 60173
                                                                             Basis for the claim:    Rent
          Date(s) debt was incurred April 2013
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $37,500.00
          JP Ownership Group, Inc.                                              Contingent
          10765 Lantern Road                                                    Unliquidated
          Suite 201                                                             Disputed
          Fishers, IN 46038
                                                                                           Agreed Judgment entered on 1/9/14 in Case No.
                                                                             Basis for the claim:
          Date(s) debt was incurred March 2008
                                                                             53C01-1304-CC-000687. Amount identified is the face amount of the
          Last 4 digits of account number                                    Judgment.
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,000.00
          Kantar Media                                                          Contingent
          11 Madison Avenue                                                     Unliquidated
          12th Floor                                                            Disputed
          New York, NY 10010
                                                                             Basis for the claim:    Goods or services
          Date(s) debt was incurred      May 2012
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $95,062.50
          Knowledge Base Marketing                                              Contingent
          2050 N. Greenville Avenue                                             Unliquidated
          Richardson, TX 75082-4322                                             Disputed
          Date(s) debt was incurred December 2010
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Mail Louisville, Inc.                                                 Contingent
          12500 Westport Road                                                   Unliquidated
          Louisville, KY 40245                                                  Disputed
          Date(s) debt was incurred October 2011
                                                                                            Trade Debt - Settlement Agreement
                                                                             Basis for the claim:
          Last 4 digits of account number                                    Case No. 1:12-CV-00237-DML-TWP dismissed with prejudice on
                                                                             8/4/14.
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 5 of 10
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 Debtor       Fine Light, Inc.                                                                        Case number (if known)
              Name

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $40,108.07
          Mallor Grodner LLP                                                    Contingent
          511 Woodcrest Drive                                                   Unliquidated
          Bloomington, IN 47401                                                 Disputed
          Date(s) debt was incurred March 2010
                                                                             Basis for the claim:    Goods or services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,655.00
          Media Partner                                                         Contingent
          80 Elmwood Drive                                                      Unliquidated
          Glen Carbon, IL 62034                                                 Disputed
          Date(s) debt was incurred Septemner 2008
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $706,666.74
          Metropolitan Jewish Health System, Inc.                               Contingent
          6323 7th Avenue                                                       Unliquidated
          Brooklyn, NY 11220                                                    Disputed
          Date(s) debt was incurred July 2011
                                                                                            Litigation settlement of trade debt claim. Case No.
                                                                             Basis for the claim:
          Last 4 digits of account number                                    1:09-cv-02677-RER, E.D. of NY.
                                                                             Is the claim subject to offset?     No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,032.35
          Mills James                                                           Contingent
          P.O. Box 714086                                                       Unliquidated
          Cincinnati, OH 45271                                                  Disputed
          Date(s) debt was incurred      March 2011                          Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $499.44
          Piedmont Community Health Plan, Inc.                                  Contingent
          1937 Thomason Drive                                                   Unliquidated
          Lynchburg, VA 24501                                                   Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:    Unused Credit Memo(s) issued to Trade Creditor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,311.88
          Power Lists and Data                                                  Contingent
          782 Shearer Street                                                    Unliquidated
          North Wales, PA 19454                                                 Disputed
          Date(s) debt was incurred August 2011
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $229,000.00
          Rainer U. Ziehm                                                       Contingent
          1239 N. High Street                                                   Unliquidated
          Columbus, OH 43201                                                    Disputed
          Date(s) debt was incurred      November 2013                                       Consent Judgment dated 6/10/14 in Case No.
                                                                             Basis for the claim:
          Last 4 digits of account number                                    2:13-cv-01134-GCS-NMK in the S.D. of Ohio. Ziehm as assignee of
                                                                             Leftchannel, Inc. Trade Debt. Amount listed is face amount of
                                                                             Judgment.
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Fine Light, Inc.                                                                        Case number (if known)
              Name

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $147,809.02
          Regions Bank                                                          Contingent
          P.O. Box 2224                                                         Unliquidated
          Birmingham, AL 35246                                                  Disputed
          Date(s) debt was incurred August 2009
                                                                             Basis for the claim:    Credit card purchases
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $627.81
          Roberts Distributors                                                  Contingent
          255 S. Meridian Street                                                Unliquidated
          Indianapolis, IN 46225                                                Disputed
          Date(s) debt was incurred April 2012
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,076.45
          Rosette Printing                                                      Contingent
          517 Widgeon                                                           Unliquidated
          Bloomingdale, IL 60108                                                Disputed
          Date(s) debt was incurred October 2008
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,324.89
          SEB Immobilien GMBG                                                   Contingent
          2 World Financial Center                                              Unliquidated
          New York, NY 10281-1050                                               Disputed
          Date(s) debt was incurred April 2012
                                                                             Basis for the claim:    Rent
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $421,588.47
          Sherman T. Rogers                                                     Contingent
          3500 S. Snoddy Road                                                   Unliquidated
          Bloomington, IN 47401                                                 Disputed
          Date(s) debt was incurred Dec. 2007-Mar. 2014
                                                                             Basis for the claim:    Note Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $158,694.92
          Sherman T. Rogers                                                     Contingent
          3500 S. Snoddy Road                                                   Unliquidated
          Bloomington, IN 47401                                                 Disputed
          Date(s) debt was incurred Aug. 2013-Mar. 2014
                                                                             Basis for the claim:    Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $26,038.72
          Software House International Inc.                                     Contingent
          33 Knightsbridge Road                                                 Unliquidated
          Piscataway, NJ 08854                                                  Disputed
          Date(s) debt was incurred January 2010
                                                                             Basis for the claim:    Goods or services.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Fine Light, Inc.                                                                        Case number (if known)
              Name

 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,317.33
          SRDS                                                                  Contingent
          PERQ/HCI Young Republic Inc.                                          Unliquidated
          1700 Higgins Road                                                     Disputed
          Des Plaines, IL 60018
                                                                             Basis for the claim:    Goods or Services.
          Date(s) debt was incurred February 2012
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $16,436.00
          Studio Center                                                         Contingent
          161 Business Park Drive                                               Unliquidated
          Virginia Beach, VA 23462                                              Disputed
          Date(s) debt was incurred August 2009
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $800.00
          The Sentinel of Gloucester County                                     Contingent
          330 Oak Avenue                                                        Unliquidated
          Malaga, NJ 08328                                                      Disputed
          Date(s) debt was incurred May 2011
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,836.69
          Time Warner Telecom                                                   Contingent
          1700 Lincoln Street                                                   Unliquidated
          Lower Level 3                                                         Disputed
          Denver, CO 80274
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred November 2012
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $16,000.00
          Victoria James                                                        Contingent
          11 Stonefence Lane                                                    Unliquidated
          South Kent, CT 06785                                                  Disputed
          Date(s) debt was incurred January 2013
                                                                             Basis for the claim:    Goods or services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,576.00
          Visalia Newspapers, Inc.                                              Contingent
          330 N. West Street                                                    Unliquidated
          Visalia, CA 93291                                                     Disputed
          Date(s) debt was incurred December 2011
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,175.20
          WGN                                                                   Contingent
          435 N. Michigan Avenue                                                Unliquidated
          Suite 1                                                               Disputed
          Chicago, IL 60611
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred May 2011
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       Fine Light, Inc.                                                                        Case number (if known)
              Name

 3.54      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $14,081.80
           Xerox Corporation                                                    Contingent
           P.O. Box 650361                                                      Unliquidated
           Dallas, TX 75265-0361                                                Disputed
           Date(s) debt was incurred November 2012
                                                                             Basis for the claim:    Trade Debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?         No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any
 4.1       Barry A. Waller
           Fry, Waller & McCann Co., L.P.A.                                                           Line     3.9
           35 East Livingston Avenue
                                                                                                             Not listed. Explain
           Columbus, OH 43215

 4.2       Curtis D. Ripley
           Leonard, Street and Deinard, P.A.                                                          Line     3.27
           150 S. Fifth Street, Suite 2300
                                                                                                             Not listed. Explain
           Minneapolis, MN 55402

 4.3       Ina B. Scher
           Davis & Gilbert LLP                                                                        Line     3.35
           1740 Broadway
                                                                                                             Not listed. Explain
           New York, NY 10019

 4.4       Joseph Mulvey
           Mulvey Law LLC                                                                             Line     3.15
           133 W. Market Street, Suite 274
                                                                                                             Not listed. Explain
           Indianapolis, IN 46204

 4.5       Mark Waterfill
           Benesch Friedlander Coplan & Aronoff                                                       Line     3.32
           1 American Square, Suite 2300
                                                                                                             Not listed. Explain
           Indianapolis, IN 46282

 4.6       Michael J. Johrendt
           Johrendt & Holford                                                                         Line     3.39
           250 E. Broad Street, Suite 200
                                                                                                             Not listed. Explain
           Columbus, OH 43215

 4.7       R. Brock Jordan
           Densborn Blachly, LLP                                                                      Line     3.15
           500 E. 96th Street, Suite 100
                                                                                                             Not listed. Explain
           Indianapolis, IN 46240

 4.8       Steven M. Lutz
           Church Church Hittle & Antrim                                                              Line     3.29
           10765 Lantern Road, Suite 201
                                                                                                             Not listed. Explain
           Fishers, IN 46037


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                          Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.          $                          0.00
 5b. Total claims from Part 2                                                                            5b.    +     $                 15,769,478.25

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 Debtor       Fine Light, Inc.                                                                    Case number (if known)
              Name


 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.     $              15,769,478.25




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 10 of 10
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 Fill in this information to identify the case:

 Debtor name         Fine Light, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF INDIANA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Fine Light, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF INDIANA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      RMG                               1801 S. Liberty Drive                             Cmedia Services,                   D
             Communications                    Bloomington, IN 47403                             LLC                                E/F       3.15
             , LLC
                                                                                                                                    G




    2.2      Sherman T.                        3500 S. Snoddy Road                               Regions Bank                       D
             Rogers                            Bloomington, IN 47401                                                                E/F       3.40
                                                                                                                                    G




Official Form 206H                                                         Schedule H: Your Codebtors                                         Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Fine Light, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF INDIANA

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         12/15
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)
2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,225. (This amount may be adjusted on 4/01/16
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,225. (This amount
   may be adjusted on 4/01/16 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.




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 Debtor       Fine Light, Inc.                                                                          Case number (if known)



           None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    Cmedia Services, LLC v. Fine                      Fraudulent                 Monroe Circuit Court                         Pending
               Light, Inc.; RMG                                  Transfer                   100 W. Kirkwood Avenue                       On appeal
               Communications, LLC; and                                                     Bloomington, IN 47404
                                                                                                                                         Concluded
               Sherman Rogers
               53C01 1203 CC 000486

       7.2.    Cmedia Services, LLC v.                           Fradulent                  U.S. District Court, S. Dist.                Pending
               Sherman Rogers, et al.                            Transfer;                  of Indiana                                   On appeal
               1:15-cv-435-SEB-MJD                               Veil-Piercing;             46 E. Ohio Street
                                                                                                                                         Concluded
                                                                 Alter-Ego                  Indianapolis, IN 46204


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions               Dates given                              Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None.




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 Debtor        Fine Light, Inc.                                                                             Case number (if known)



       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss       Value of property
       how the loss occurred                                                                                                                                 lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates             Total amount or
                 the transfer?                                                                                                                            value
                 Address
       11.1.     Jefferson & Brewer LLC                              Prepayment of filing Fees for RMG
                 300 N. Meridian Street                              Communicaitons and Fine Light Chapter
                 Suite 220                                           11 filings, and balance as retainer for                   March 14,
                 Indianapolis, IN 46204                              Debtor's Counsel                                          2016                  $25,000.00

                 Email or website address


                 Who made the payment, if not debtor?




       11.2.     Barron Business Consulting,
                 Inc.
                 201 N. Illinois, Suite 1630
                 Indianapolis, IN 46204                              Retainer for CRO Services                                 3/16/16               $15,000.00

                 Email or website address
                 www.barronbusinessconsulting.co
                 m

                 Who made the payment, if not debtor?




       11.3.     Faegre Baker Daniels
                 300 N. Meridian Street, Suite
                 2700
                 Indianapolis, IN 46204                              Retainer for Special Counsel                              3/16/16               $15,000.00

                 Email or website address
                 www.faegrebd.com

                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.



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 Debtor       Fine Light, Inc.                                                                           Case number (if known)



       Name of trust or device                                       Describe any property transferred                Dates transfers         Total amount or
                                                                                                                      were made                        value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

               Who received transfer?                            Description of property transferred or                  Date transfer        Total amount or
               Address                                           payments received or debts paid in exchange             was made                      value
       13.1                                                      Personal property (furniture and
       .                                                         equipment) of Debtor and RMG Comms.,
                                                                 LLC was liquidated by auction for the
                                                                 benefit of CMedia in April 2014 for the
               Cmedia Services, LLC                              total sale price of $12,751 (net after
               207 NW Park Avenue                                auction expenses CMedia received
               Portland, OR 97209                                $5,413.95)                                              April 2014               $12,751.00

               Relationship to debtor
               Judgment creditor


       13.2 Cmedia Services, LLC
       .    207 NW Park Avenue
               Portland, OR 97209                                Garnishment                                             3/14/14                    $7,123.76

               Relationship to debtor
               Judgment Creditor


       13.3 Cmedia Services, LLC
       .    207 NW Park Avenue
               Portland, OR 97209                                Garnishment                                             3/20/14                    $2,858.17

               Relationship to debtor
               Judgment Creditor


       13.4 Cmedia Services, LLC
       .    207 NW Park Avenue
               Portland, OR 97209                                Garnishment                                             3/20/14                      $872.24

               Relationship to debtor
               Judgment Creditor


       13.5 Cmedia Services, LLC
       .    207 NW Park Avenue
               Portland, OR 97209                                Garnishment                                             3/20/14                      $100.00

               Relationship to debtor
               Judgment Creditor


       13.6 Cmedia Services, LLC
       .    207 NW Park Avenue
               Portland, OR 97209                                Garnishment                                             3/20/14                      $100.00

               Relationship to debtor
               Judgment Creditor




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 Debtor      Fine Light, Inc.                                                                           Case number (if known)



               Who received transfer?                            Description of property transferred or                  Date transfer        Total amount or
               Address                                           payments received or debts paid in exchange             was made                      value
       13.7 Cmedia Services, LLC
       .    207 NW Park Avenue
               Portland, OR 97209                                Garnishment                                             9/26/14                      $685.97

               Relationship to debtor
               Judgment Creditor


       13.8 Cmedia Services, LLC
       .    207 NW Park Avenue
               Portland, OR 97209                                Garnishment                                             9/26/14                        $88.20

               Relationship to debtor
               Judgment Creditor


       13.9 Cmedia Services, LLC
       .    207 NW Park Avenue
               Portland, OR 97209                                Garnishment                                             10/7/14                      $100.00

               Relationship to debtor
               Judgment Creditor


       13.1 Cmedia Services, LLC
       0.   207 NW Park Avenue
               Portland, OR 97209                                Garnishment                                             1/1/15                     $2,673.02

               Relationship to debtor
               Judgment Creditor


       13.1 Cmedia Services, LLC
       1.   207 NW Park Avenue
               Portland, OR 97209                                Garnishment                                             4/28/15                      $100.00

               Relationship to debtor
               Judgment Creditor


       13.1 RMG Communications LLC
       2.   1801 S. Liberty Drive
               Bloomington, IN 47403                             Loan payment                                            3/21/14                    $3,000.00

               Relationship to debtor
               Subsidiary


       13.1 RMG Communications LLC
       3.   1801 S. Liberty Drive
               Bloomington, IN 47403                             Loan Payment                                            3/21/14                      $200.00

               Relationship to debtor
               Subsidiary


 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply


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 Debtor        Fine Light, Inc.                                                                         Case number (if known)



                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To
       14.1.     600 E. Main Street
                 Louisville, KY 40202

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services          If debtor provides meals
                                                                 the debtor provides                                                   and housing, number of
                                                                                                                                       patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.
                       Yes. Fill in below:

 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was              Last balance
               Address                                           account number           instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred
       18.1.     Regions Bank                                    XXXX-9220                   Checking                 Closed 4/28/15 -                   $100.00
                                                                                             Savings
                                                                                                                      $100.00
                                                                                                                      remaining in
                                                                                             Money Market
                                                                                                                      account was
                                                                                             Brokerage
                                                                                                                      garnished by
                                                                                             Other                    CMedia Services.

       18.2.     Old National Bank                               XXXX-7612                   Checking                 Closed 3/14/14 -                 $7,123.76
                 Deposit Servicing/Account                                                   Savings
                                                                                                                      $7123.76
                 Support                                                                                              remaining in
                                                                                             Money Market
                 PO Box 3606                                                                                          account was
                                                                                             Brokerage
                 Evansville, IN 47735                                                                                 garnished by
                                                                                             Other                    CMedia Services


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19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
       Taft Stettinius & Hollister LLP                               Attorneys for Fine Light,            Books and records                       No
       One Indiana Square, Suite 3500                                Inc.                                                                         Yes
       Indianapolis, IN 46204

       Barn owned by Principal of the Debtor                         Sherman Rogers                       Some old business records.              No
       2865 East Rhorer Road                                                                                                                      Yes
       Bloomington, IN 47401



 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                   Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

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 Debtor      Fine Light, Inc.                                                                           Case number (if known)



       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.    RMG Communications, LLC                          Market research and lead                         EIN:         XX-XXXXXXX
             1801 S. Liberty Drive                            generation.
             Bloomington, IN 47403                                                                             From-To      2006-Present (no active business
                                                                                                                            operations since 2012)

    25.2.    Aquila, LLC                                      Airplane and hangar ownership                    EIN:         XX-XXXXXXX
             1801 S. Liberty Drive                            and leasing.
             Bloomington, IN 47403                                                                             From-To      1996-present


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Kevin Todd                                                                                                                 1994 - present
                    1801 S. Liberty Drive
                    Bloomington, IN 47403

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       Kevin Todd                                                                                                                 1994 - present
                    1801 S. Liberty Drive
                    Bloomington, IN 47403
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.2.       BKD LLP                                                                                                                    1994 - present
                    P.O. Box 628
                    Evansville, IN 47704

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None


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 Debtor      Fine Light, Inc.                                                                           Case number (if known)



       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Taft Stettinius & Hollister LLP
                    One Indiana Square, Suite 3500
                    Indianapolis, IN 46204

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address
       26d.1.       Cmedia Services, LLC
                    207 NW Park Avenue
                    Portland, OR 97209

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory
       27.1 Key Auctioneers & Appriasers                                                                             $12,751 (auction value of assets of
       .                                                                                    March 2014               debtor and RMG Comms., LLC)

                Name and address of the person who has possession of
                inventory records
                Key Auctioneers & Appriasers
                5520 S. Harding Street
                Indianapolis, IN 46217


28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Sherman T. Rogers                              1801 S. Liberty Drive                               President, Secretary, and             100
                                                      Bloomington, IN 47403                               Chief Executive Officer

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Kevin Todd                                     1801 S. Liberty Drive                               Chief Financial Officer               0
                                                      Bloomington, IN 47403



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

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 Debtor      Fine Light, Inc.                                                                           Case number (if known)



               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         March 16, 2016

 /s/ Kevin Todd                                                         Kevin Todd
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Chief Financial Officer

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Southern District of Indiana
 In re       Fine Light, Inc.                                                                                 Case No.
                                                                                 Debtor(s)                    Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 21,566.00
             Prior to the filing of this statement I have received                                        $                 21,566.00
             Balance Due                                                                                  $                       0.00

2.     $    0.00      of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                   Debtor                 Other (specify):

4.     The source of compensation to be paid to me is:

                   Debtor                 Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
       e.   [Other provisions as needed]
                 Debtor is obligated to reimburse costs and pay the law firm of Jefferson & Brewer, LLC, at its regular hourly rates
                 for services provided in this bankruptcy case. Debtor provided a $25,000 payment to Jefferson & Brewer, LLC
                 prior to filing, which was used as a prepayment for filing fees for Chapter 11 petitions for both the Debtor and its
                 subsidiary, RMG Communications, Inc. with the remainder held in trust as a retainer in the amount of $21,566
                 against fees to be incurred in representation of the Debtor in the case, and/or RMG Communications, LLC as a
                 debtor in its related case, subject to court authorization.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtor-in-possession in pursuit of related party claims including alleged fraudulent
               transfers and veil piercing claims. It is expected that special counse will be employed to pursue such claims on
               behalf of the Debtor.
                                                                          CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     March 16, 2016                                                              /s/ Wendy D. Brewer
     Date                                                                        Wendy D. Brewer 22669-49
                                                                                 Signature of Attorney
                                                                                 Jefferson & Brewer, LLC
                                                                                 300 N. Meridian St., Ste. 220
                                                                                 Indianapolis, IN 46204
                                                                                 317-215-6220 Fax: 317-252-0275
                                                                                 wbrewer@jeffersonbrewer.com
                                                                                 Name of law firm




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                                                               United States Bankruptcy Court
                                                                      Southern District of Indiana
 In re      Fine Light, Inc.                                                                                          Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Sherman T. Rogers                                                                    100%                                       Ownership
 3500 S. Snoddy Road
 Bloomington, IN 47401


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

         I, the Chief Financial Officer of the corporation named as the debtor in this case, declare under penalty of perjury
that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information
and belief.



 Date March 16, 2016                                                         Signature /s/ Kevin Todd
                                                                                            Kevin Todd

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                               United States Bankruptcy Court
                                                                     Southern District of Indiana
 In re      Fine Light, Inc.                                                                                Case No.
                                                                                  Debtor(s)                 Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the Chief Financial Officer of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true

and correct to the best of my knowledge.




 Date:       March 16, 2016                                            /s/ Kevin Todd
                                                                       Kevin Todd/Chief Financial Officer
                                                                       Signer/Title




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                           600 ASSOCIATES
                           333 E. MAIN STREET
                           SUITE 510
                           LOUISVILLE, KY 40202




                           ACTIVE HEALTH MANAGEMENT
                           1333 BROADWAY
                           NY 10180




                           AMERICAN SOCIETY OF CIVIL ENGINEERS
                           1801 ALEXANDER BELL DRIVE
                           RESTON, VA 20191




                           ARBITRON, INC.
                           9705 PATUXENT WOODS DRIVE
                           COLUMBIA, MD 21046




                           ARCADIAN MANAGEMENT SERVICES
                           500 12TH STREET, SUITE 350
                           OAKLAND, CA 94607




                           BARRY A. WALLER
                           FRY, WALLER & MCCANN CO., L.P.A.
                           35 EAST LIVINGSTON AVENUE
                           COLUMBUS, OH 43215




                           BLOOM INSURANCE AGENCY, LLC
                           1801 S. LIBERTY DRIVE
                           BLOOMINGTON, IN 47403
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                       BLOOM MEDIA SERVICES, LLC
                       1801 S. LIBERTY DRIVE
                       BLOOMINGTON, IN 47403




                       BOB EGLE, LLC
                       4103 FAIRFAX DRIVE
                       COLUMBUS, OH 43220




                       CHICAGO TRIBUNE
                       14839 COLLECTIONS CENTER DRIVE
                       CHICAGO, IL 60693-0148




                       CIRCA MUSIC
                       5030 BRADENTON AVENUE
                       DUBLIN, OH 43017




                       CLEARSPRING TECHNOLOGIES
                       800 WESTPARK DRIVE
                       SUITE 625
                       MCLEAN, VA 22102




                       CLENDENING JOHNSON AND BOHRER, P.C.
                       400 W. PATTERSON DRIVE
                       SUITE 205
                       BLOOMINGTON, IN 47403




                       CLIFFORD CHANCE LLP
                       31 W. 52ND STREET
                       NEW YORK, NY 10019
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                       CMEDIA SERVICES, LLC
                       207 NW PARK AVENUE
                       PORTLAND, OR 97209




                       CONWAY SUN
                       64 SEAVEY STREET
                       NORTH CONWAY, NH 03860




                       CORE MEDIA
                       695 ROUTE 46 WEST
                       SUITE 403
                       FAIRFIELD, NJ 07004




                       CROSSROADS DEVELOPMENT GROUP, INC.
                       1801 S. LIBERTY DRIVE
                       BLOOMINGTON, IN 47403




                       CULLIGAN WATER
                       490 N. CLARK BOULEVARD
                       CLARKSVILLE, IN 47129




                       CURTIS D. RIPLEY
                       LEONARD, STREET AND DEINARD, P.A.
                       150 S. FIFTH STREET, SUITE 2300
                       MINNEAPOLIS, MN 55402




                       DEBBIE BURGAN
                       600 E. MAIN STREET
                       SUITE 310
                       LOUISVILLE, KY 40202
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                       EGIX
                       P.O. BOX 748001
                       CINCINNATI, OH 45274




                       EXETER NEWS LETTER
                       111 NEW HAMPSHIRE AVENUE
                       PORTSMOUTH, NH 03801




                       FINELIGHT AGENCY, LLC
                       1801 S. LIBERTY DRIVE
                       BLOOMINGTON, IN 47403




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                       665 MAIN STREET
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                       HUMANA, INC.
                       3594 RELIABLE PARKWAY
                       CHICAGO, IL 60686-0035




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                       1740 BROADWAY
                       NEW YORK, NY 10019




                       INGENIX
                       12125 TECHNOLOGY DRIVE
                       EDEN PRAIRIE, MN 55344
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                       JAPS-OLSON COMPANY
                       7500 EXCELSIOR BOULEVARD
                       MINNEAPOLIS, MN 55426




                       JOHN HANCOCK LIFE INSURANCE
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                       11 MADISON AVENUE
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                       NEW YORK, NY 10010




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                       RICHARDSON, TX 75082-4322




                       MAIL LOUISVILLE, INC.
                       12500 WESTPORT ROAD
                       LOUISVILLE, KY 40245
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                       MALLOR GRODNER LLP
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                       BENESCH FRIEDLANDER COPLAN & ARONOFF
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                       MEDIA PARTNER
                       80 ELMWOOD DRIVE
                       GLEN CARBON, IL 62034




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                       BROOKLYN, NY 11220




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                       LYNCHBURG, VA 24501
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                       POWER LISTS AND DATA
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                       NORTH WALES, PA 19454




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                       ROBERTS DISTRIBUTORS
                       255 S. MERIDIAN STREET
                       INDIANAPOLIS, IN 46225




                       ROSETTE PRINTING
                       517 WIDGEON
                       BLOOMINGDALE, IL 60108
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                       SEB IMMOBILIEN GMBG
                       2 WORLD FINANCIAL CENTER
                       NEW YORK, NY 10281-1050




                       SHERMAN T. ROGERS
                       3500 S. SNODDY ROAD
                       BLOOMINGTON, IN 47401




                       SOFTWARE HOUSE INTERNATIONAL INC.
                       33 KNIGHTSBRIDGE ROAD
                       PISCATAWAY, NJ 08854




                       SRDS
                       PERQ/HCI YOUNG REPUBLIC INC.
                       1700 HIGGINS ROAD
                       DES PLAINES, IL 60018




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                       CHURCH CHURCH HITTLE & ANTRIM
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                       VIRGINIA BEACH, VA 23462




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                       330 OAK AVENUE
                       MALAGA, NJ 08328
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                       TIME WARNER TELECOM
                       1700 LINCOLN STREET
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                       VICTORIA JAMES
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                       VISALIA NEWSPAPERS, INC.
                       330 N. WEST STREET
                       VISALIA, CA 93291




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                       XEROX CORPORATION
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                       DALLAS, TX 75265-0361
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                                                               United States Bankruptcy Court
                                                                     Southern District of Indiana
 In re      Fine Light, Inc.                                                                             Case No.
                                                                                 Debtor(s)               Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Fine Light, Inc. in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of
the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 Sherman T. Rogers
 3500 S. Snoddy Road
 Bloomington, IN 47401




    None [Check if applicable]




 March 16, 2016                                                      /s/ Wendy D. Brewer
 Date                                                                Wendy D. Brewer 22669-49
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Fine Light, Inc.
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